






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00611-CR






Doyle John Garrett aka Doyal John Garrett, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF LAMPASAS COUNTY, 27TH JUDICIAL DISTRICT

NO. 8627, HONORABLE JOE CARROLL, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N

	Appellant Doyle John Garrett aka Doyal John Garrett pled guilty without a plea
agreement to driving while intoxicated--felony repetition, (1) enhanced with a prior conviction
for&nbsp;evading arrest with a motor vehicle.  The trial court held a sentencing hearing, reviewed a
presentencing investigation report, and sentenced him to eighteen years imprisonment.  Garrett's
appointed attorney has filed a brief concluding that the appeal is frivolous and without merit.

	Counsel's brief meets the requirements of Anders v. California, 386 U.S. 738, 743-44
(1967), by presenting a professional evaluation of the record and demonstrating that there are no
arguable grounds to be advanced.  See Penson v. Ohio, 488 U.S. 75, 80 (1988); Anders, 386 U.S. at
743-44; High v. State, 573 S.W.2d 807, 811-13 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d
684, 684 (Tex. Crim. App. 1974); Gainous v. State, 436 S.W.2d 137, 138 (Tex. Crim. App. 1969).
Garrett's attorney sent Garrett a copy of the brief and advised him that he had the right to examine
the record and file a pro se brief.  See Anders, 386 U.S. at 744; Jackson v. State, 485 S.W.2d 553,
553 (Tex. Crim. App. 1972).  In April 2012, we granted Garrett's motion for an extension of time
to file a pro se brief, extending his deadline to May 18, but to date, no pro se brief has been filed, and
Garrett has not sent any communications since sending his motion for extension of time.

	Having reviewed the record and the procedures that were observed, we agree with
counsel that the appeal is frivolous and without merit.  We grant counsel's motion to withdraw and
affirm the judgment of conviction. (2)


					___________________________________________

					David Puryear, Justice

Before Justices Puryear, Henson and Goodwin

Affirmed

Filed:   August 16, 2012

Do Not Publish
1.   The indictment alleged that Garrett had committed the subject offense in October 2010 and
had been convicted of offenses related to operating a motor vehicle while intoxicated on four earlier
occasions between 1992 and 2005.  It included a "repeat offender" allegation that Garrett had also
been convicted of evading arrest with a vehicle--deadly weapon in 2005.
2.   No substitute counsel will be appointed.  Should Garrett wish to seek further review of
his&nbsp;case by the court of criminal appeals, he must either retain an attorney to file a petition for
discretionary review or file a pro se petition for discretionary review.  See generally Tex. R. App.
P. 68-79 (governing proceedings in the Texas Court of Criminal Appeals).  Any petition for
discretionary review must be filed within thirty days from the date of either this opinion or the date
this Court overrules the last timely motion for rehearing filed.  See Tex. R. App. P. 68.2.  The
petition must be filed with this Court, after which it will be forwarded to the court of criminal
appeals along with the rest of the filings in the cause.  See Tex. R. App. P. 68.3, 68.7.  Any petition
for discretionary review should comply with rules 68.4 and 68.5 of the rules of appellate procedure.
See Tex. R. App. P. 68.4, 68.5.


